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                         EXHIBIT C
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             October 11, 2021


             VIA OVERNIGHT MAIL, FACSIMILE AND EMAIL


             PREDICTIVE LABORATORIES, INC.
             2749 East Parleys Way
             Suite 100
             Salt Lake City, UT 84109
             Attention: Brad Robinson


             Re: Notice of Default and Acceleration; and Reservation of Rights

             Ladies and Gentlemen:

             Reference is made to (i) that certain Amended and Restated Promissory Note and Security Agreement,
             dated as of September 25, 2020 (as amended, restated, amended and restated, supplemented or otherwise
             modified from time to time, the “Credit Agreement”), by, among others, PROPHASE LABS, INC.
             (collectively with their successors and assigns from time to time, individually and collectively, the
             “Lender”) and PREDICTIVE LABORATORIES, INC. (“Borrower”) and (ii) the related loan documents
             (collectively, with the Credit Agreement, “Loan Documents”). Unless otherwise specified, all capitalized
             terms used but not defined herein shall have the respective meanings ascribed to such terms in the Credit
             Agreement.

             As you know, multiple Events of Default have occurred and are continuing under the Credit Agreement
             and the other Loan Documents as of the date hereof, including, without limitation, those Events of Default
             listed in Exhibit A attached hereto (all such existing Events of Default, the “Designated Defaults”). Lender
             is investigating whether additional Events of Default currently exist.

             Please take NOTICE that as a result of the Designated Defaults, as well as any other Events of Default that
             may exist, Lender is entitled to exercise any and all default-related rights and remedies under the Credit
             Agreement, other Loan Documents and applicable law or in equity.

             Please take further NOTICE that, in light of the Existing Events of Default, and pursuant to the terms of
             the Credit Agreement, Lender hereby DEMANDS the immediate payment in full by the Borrower in cash
             of the unpaid principal amount of the Loan, with all interest accrued and unpaid thereon, and all other
             obligations. The Borrower should contact the Lender immediately to discuss the method by which the
             Borrower will pay the amounts owed.

             Lender is presently evaluating all available courses of action that may be available under the Credit
             Agreement, the other Loan Documents, at law, or in equity. Accordingly, without waiving the Existing
             Events of Default, the Lender reserves all of its rights and remedies under the Credit Agreement, the other
             Loan Documents and applicable law and in equity. Lender will continue to monitor the default situation



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             very carefully and will decide in its sole discretion on a “day-by-day” basis whether or not to exercise its
             rights and remedies. We remind you, however, that neither any “day-by-day” discretionary consent by
             Lender nor anything in this letter or in any ongoing discussions or negotiations between Lender (or any one
             of them), on the one hand, and the Borrower, on the other hand, nor any delay on the part of the Lender in
             exercising any of its respective rights and remedies under the Credit Agreement, the other Loan Documents,
             applicable law and/or in equity, shall directly or indirectly: (i) create any obligation to forbear from taking
             any enforcement action, (ii) constitute a consent to or waiver of any past, present or future default or Event
             of Default or other violation of any provisions of the Credit Agreement or any other Loan Documents, (iii)
             amend, modify or operate as a waiver of any provision of the Credit Agreement or any other Loan
             Documents or any right, power, privilege or remedy of a Lender thereunder or under applicable law or
             constitute an agreement to forbear or to restructure the Obligations in any respect or otherwise modify the
             capital structure of the Borrower, or (iv) constitute a course of dealing or other basis for altering any rights
             or obligations of Lender under the Loan Documents or any obligations of the Borrower under the Credit
             Agreement, other Loan Documents or any other contract or instrument. Nothing contained in or omitted
             from this letter shall constitute and amendment or waiver by the Lender of any provision of the Loan
             Documents and all provisions of the Loan Documents shall remain in full force and effect Nothing
             contained in this letter shall confer on Borrower or any of their affiliates or any other Person any right to
             notice or cure periods with respect to any Event of Default.

             This letter confirms that the Lender has not waived the Designated Defaults and the Lender expressly
             reserves all of its rights, powers, privileges and remedies under the Credit Agreement, other Loan
             Documents and/or applicable law, including, without limitation, its right at any time, as applicable, (i) to
             require payment of accrued default interest in respect of the obligations (as of any date from and after the
             date on which the first Designated Default first occurred), (ii) to commence any legal or other action to
             collect any or all of the obligations from the Borrower, and any other person liable therefor and/or any
             Collateral, (iii) to foreclose or otherwise realize on any or all of the Collateral and/or as appropriate, set-off
             or apply to the payment of any or all of the obligations, any or all of the Collateral, (iv) to take any other
             enforcement action or otherwise exercise any or all rights and remedies provided for by any or all of the
             Credit Agreement, other Loan Documents or applicable law, and (v) to reject any forbearance, financial
             restructuring or other proposal made by or on behalf of Borrower or any creditor or equity holder. Lender
             may exercise its respective rights, powers, privileges and remedies, including those set forth in (i) through
             (v) above at any time in its sole and absolute discretion without further notice. No oral representations or
             course of dealing on the part of Lender or any of its officers, employees or agents, and no failure or delay
             by the Lender with respect to the exercise of any right, power, privilege or remedy under any of the Credit
             Agreement, other Loan Documents, applicable law or in equity shall operate as a waiver thereof or affect
             or diminish any right of the Lender thereafter to demand strict compliance and performance therewith. The
             delivery by the Lender of this letter shall not constitute or create a right to notice or demand on any future
             occasion and the single or partial exercise of any such right, power, privilege or remedy shall not preclude
             any later exercise of any other right, power, privilege or remedy.

                                                       [Signature page to follow]

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             Very truly yours,




             PROPHASE LABS, INC., as Lender

             By:
             Name: Monica L Brady
             Title: Chief Financial Officer




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                                                             EXHIBIT A

                                                    DESIGNATED DEFAULTS

             “Designated Defaults” include, without limitation, the following:

                      (a)     Events of Default that have occurred and are continuing under the Credit Agreement due to
             the failure of the Borrower to pay principal, interest and other obligations when due.




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